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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division




 EBENEZER OHENE SAKYI,

         Plaintiff,

 V.                                   Civil Action No. l:18-cv-265


 NATIONSTAR MORTGAGE, LLC,
 et al.,

         Defendants.




                              MEMORANDUM OPINION


         THIS MATTER comes before the Court on Defendants' Motion to


 Dismiss Plaintiff s First Amended Complaint pursuant to Federal

 Rule of Civil Procedure 12(b)(6).

         On April 28, 2006, Plaintiff obtained a home mortgage loan

 from First Equity Mortgage Incorporated in the amount of

 $603,000. The loan included an Interest Only Adjustable Rate

 Note and a Deed of Trust that placed a lien on the property.

 Attached to the Note is a special endorsement from the original

 lender to Countrywide Bank, N.A., a special endorsement from

 Countrywide Bank, N.A. to Countrywide Home Loans, Inc., and a

 blank endorsement from Countrywide Home Loans, Inc. Sometime

 after origination, the loan was transferred to Deutsche Bank,

 and Nationstar has been the servicer of the loan since July

 2013.
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